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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )              CASE NO. 8:06CR376
                                               )
              Plaintiff,                       )
                                               )
              vs.                              )              TENTATIVE FINDINGS
                                               )
NICHOLE BITTNER,                               )
                                               )
              Defendant.                       )


       The Court has received the Presentence Investigation Report (“PSR”) and the

Defendant’s objections thereto (Filing No. 152).1 The government adopted the PSR.

(Filing No. 149.) See Order on Sentencing Schedule, ¶ 6. The Court advises the parties

that these Tentative Findings are issued with the understanding that, pursuant to United

States v. Booker, 543 U.S. 220 (2005), the sentencing guidelines are advisory.

       The Defendant bears the burden of proof by a preponderance of the evidence with

respect to the disputed role issue. The objection will be heard at sentencing.

       IT IS ORDERED:

       1.     The Defendant’s Objections to the Presentence Investigation Report (Filing

No. 152) will be heard at sentencing;

       2.     Otherwise the Court’s tentative findings are that the Presentence

Investigation Report is correct in all respects;

       3.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion


       1
       Although captioned as a “motion to consider minor role and depart” from the
sentencing guidelines, the pleading is actually an objection to the lack of a downward role
adjustment in ¶24 of the PSR.
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challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       4.     Absent submission of the information required by paragraph 3 of this Order,

my tentative findings may become final; and

       5.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 22nd day of June, 2007.

                                          BY THE COURT:

                                          s/Laurie Smith Camp
                                          United States District Judge




                                               2
